Paul Flack

From:                Paul Flack
Sent:                Wednesday, February 1, 2023 11:04 AM
To:                  Andino Reynal (areynal@frlaw.us)
Cc:                  Sonila Themeli (sthemeli@shb.com)
Subject:             Angelica Vargas - VW Tiguan - SEC v Chavez


Mr. Reynal,

I understand you represent Angelica Vargas. I represent her estranged husband, Mauricio Chavez. I understand that the
Receiver wants to take possession of a VW Tiguan that is in the possession of Ms. Vargas. My client is fine with the
Receiver taking possession of that car. If your client objects to that, please let me know. If she does not, please let me
know that too, and let me know if there is anything we need to do to facilitate its delivery to the Receiver (ccd above).

Thank you,

Paul D. Flack
(713) 705-3087




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